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                      EXHIBIT 11

                   (CORRECTED)
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                                                  McCombs III, Paul MD (Smith prescriber) 6/8/2007 10:09:00 AM
                                                           -                                                                      3

   1      IN THE UNITED STATES DISTRICT COURT                   1                    INDEX
           FOR THE DISTRICT OF MASSACHUSETTS
                                                                2    WITNESS: PAUL RAY McCOMBS
   2
   3   IN RE: NEURONTIN MARKETING, SALES )                      3               INDEX OF EXAMINATIONS
       PRACTICES AND PRODUCTS LIABILITY )                       4                                    Page/Line
   4   LITIGATION                    )
                              )                                 5    By Mr. Lanier .......................   6    5
   5   __________________________         )                     6    By Mr. Ferguson ..................... 15 11
                             )
                                                                7    By Mr. Lanier ....................... 28     9
   6                         )
                             ) CASE NO.                         8    By Mr. Ferguson ..................... 30         4
   7                         ) 04-10981                         9    By Mr. Lanier ....................... 35     7
       THIS DOCUMENT RELATES TO:            )
   8                         )                                  10                INDEX OF EXHIBITS
       RUTH SMITH, Individually and as )                        11                                   Page/Line
   9   Widow for the use and benefit of )
                                                                12   No. 1 .............................. 29 24
       herself and the next of kin of )
  10   Richard Smith, deceased.         )                       13   No. 2 .............................. 29 25
                             )                                  14   No. 3 .............................. 34 12
  11   05-CV-11515                   )
                             )                                  15
  12                                                            16
  13
                                                                17
  14     VIDEOTAPED DEPOSITION OF
  15     PAUL R. McCOMBS, III, M.D.                             18
  16     Taken on Behalf of the Plaintiffs                      19
  17     June 8, 2007
  18                                                            20
  19                                                            21
  20
                                                                22
  21
  22                                                            23
  23                                                            24
  24
  25                                                            25



                                                           2                                                                      4

   1   APPEARANCES:                                             1
   2   For the Plaintiff:
                                                                2              The videotaped deposition of PAUL R.
   3        MARK LANIER
            DARA HEGAR                                          3    McCOMBS, III, M.D., taken on behalf of the
   4        PATRICK O'HARA                                      4    Plaintiffs, on the 8th day of June, 2007, in the
            Lanier Law Firm
   5        6810 F.M. 1960 West                                 5    offices of Howell Allen Clinic, 2011 Murphy
            Houston, Texas 77069                                6    Avenue, Suite 401, Nashville, Tennessee, for all
   6        713.659.5200
            713.659.6416                                        7    purposes under the Federal Rules of Civil
   7        wml@lanierlawfirm.com                               8    Procedure.
   8       ANDREW G. FINKELSTEIN
                                                                9              The formalities as to notice,
            Finkelstein & Partners
   9       436 Robinson Avenue                                  10   caption, certificate, et cetera, are waived. All
            Newburgh, New York 12550
                                                                11   objections, except as to the form of the
  10       800.634.1212
            afinkelstein@lawampm.com                            12   questions, are reserved to the hearing.
  11                                                            13             It is agreed that Elisabeth A.
  12   For the Defendant:
  13        KENNETH J. FERGUSON                                 14   Miller, being a Notary Public and Court Reporter
            Clark, Thomas & Winters                             15   for the State of Tennessee, may swear the witness,
  14        P.O. Box 1148
            Austin, Texas 78767                                 16   and that the reading and signing of the completed
  15        512.472.8800                                        17   deposition by the witness are waived.
            512.474.1129
  16        kjf@ctw.com                                         18
  17                                                            19
       Also Present: Jason Powers, Videographer
                                                                20
  18
  19                                                            21                    ***
  20                                                            22
  21
  22                                                            23
  23                                                            24
  24
  25                                                            25




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   1   treatment or help?                                                1    are -- Dr. Mackey is an orthopedic spine surgeon.
   2   A.     Yes.                                                       2    Dr. Howell is a neurosurgeon in this group.
   3   Q.      Would you tell the jury a little bit of                   3         The -- it was recommended that he be
   4   what you tried to do to help him?                                 4    treated conservatively. That was carried out.
   5   A.     After being seen on 3 March '03, I                         5         The last time I saw him physically was on
   6   recommended a course of conservative treatment,                   6    31 March 2004.
   7   including oral medication, anti-inflammatory by                   7    Q.       Okay. Doctor, I've had a chance to look
   8   the name of Vioxx, as well as epidural steroid                    8    through your records; I think all the parties
   9   injection, which is injecting steroids in the                     9    have. We show a period of time where y'all were
  10   lower portion of his back. He returned to see me                  10   giving the drug Neurontin to Mr. Smith. I'd like
  11   and did not have any improvement after                            11   to talk to you for a bit -- minute about
  12   conservative treatment.                                           12   Neurontin.
  13          We subsequently ended up doing surgery on                  13        First of all, that is the drug you've
  14   this gentleman, removing the pressure off the                     14   prescribed, I'm assuming?
  15   nerves in the back of his spine from the L3                       15   A.       Yes. It is a drug that had been started
  16   vertebra down to the level of the tailbone or                     16   by another physician that we continued.
  17   sacrum. He tolerated the procedure without                        17   Q.       Okay. And is it important that drug
  18   difficulty and did not have any complications.                    18   companies tell you everything they know about
  19          He was seen in follow up. He did                           19   their drugs and possible side effects that they
  20   reasonably well for a period of time and developed                20   suspect might be caused by their drugs?
  21   some recurrent pain in the time after that I saw                  21   A.       I don't know what the standard of care in
  22   him.                                                              22   the community is in that regard. I do know that I
  23          He -- I saw him last after his surgery                     23   like my detail reps to come talk to me about what
  24   in -- let's see, in April 1st of 2003. I last saw                 24   the indications for uses are and potential side
  25   him in follow up with that surgery on 13                          25   effects. In terms of telling me all that they



                                                                   10                                                                       12

   1   October '03, and at that time, was doing well.                    1    know, I don't know what -- what's appropriate
   2   Released him from my care.                                        2    there.
   3          And the next time I saw him was in March                   3    Q.       Okay. Let me ask it to you this way, did
   4   of '04, and at that time, he was having recurrent                 4    you know that Neurontin was a drug that the FDA at
   5   pain in his back and into his legs.                               5    least had considered might lead to suicides?
   6   Q.      All right. So if I understand this right,                 6    A.       No.
   7   you did a surgery on his low back that seemed                     7               MR. FERGUSON: Object to form.
   8   to -- to help him?                                                8    BY MR. LANIER:
   9   A.     Yes.                                                       9    Q.       Did you know that Neurontin was a drug
  10   Q.      You released him in October of '03 after                  10   where there was concern within the -- the -- the
  11   following up from that surgery?                                   11   drug company and the FDA about whether it
  12   A.     Yes.                                                       12   increased depression?
  13   Q.      And he seemed to be doing fine until he                   13              MR. FERGUSON: Object to form.
  14   came back to you in March of '04?                                 14              THE WITNESS: No.
  15   A.     Yes.                                                       15   BY MR. LANIER:
  16   Q.      And it looked like he was having more                     16   Q.       Is that the kind of information you'd like
  17   problems?                                                         17   to know?
  18   A.     Yes.                                                       18   A.       If it is considered a significant risk,
  19   Q.      When he came back to you in March of '04,                 19   then, yes, I do.
  20   did you -- what -- what did you do?                               20   Q.       Okay. If you -- when -- when Richard
  21   A.     Well, I conducted an examination on him,                   21   Smith presented to you, at any time that he came
  22   and I reviewed his studies that were done. He had                 22   in, did he -- did he ever present, either himself
  23   some narrowing of the spinal canal above the level                23   or through phone calls with his daughters, as
  24   of his previous surgery site. We -- he had seen,                  24   someone who was depressed and -- and down?
  25   by that time, Dr. Howell and Dr. Mackey. Both                     25   A.       Yes, sir.




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   1   Q.      Is that something that's rare with people                  1              How much time did I use, please?
   2   who have a lot of back pain that need your help,                   2              THE WITNESS: You were right at --
   3   or is that --                                                      3              THE VIDEOGRAPHER: 10 minutes -- 10
   4   A.      Chronic -- chronic pain syndromes are                      4    minutes 30.
   5   frequently associated with depression and treated                  5              MR. LANIER: Oh, baby, I've got more
   6   with medication for depression.                                    6    time. You better not leave me an opening.
   7   Q.      Okay. Is that the kind of fellow you                       7              THE WITNESS: It's about me.
   8   would ever want to give a drug to that -- if you                   8              MR. LANIER: Thank you, Doctor.
   9   had a choice in the matter -- that -- if that drug                 9              THE WITNESS: You're welcome.
  10   was going to be one that increased depression or                   10              EXAMINATION
  11   caused a loss of impulse control or suicide or                     11   BY MR. FERGUSON:
  12   things like that?                                                  12   Q.      Dr. McCombs, let me ask you a little bit
  13   A.      It's something that would have to be                       13   about your -- your treatment of -- of Mr. Smith.
  14   weighed. If the patient's depression was caused                    14   First of all, Mr. Lanier asked you about whether
  15   by significant pain and the Neurontin helped the                   15   there had been some contacts with the family
  16   pain, that would maybe help the depression, but it                 16   regarding any -- any concerns that might give rise
  17   could do -- it could go either way.                                17   to a concern that perhaps Mr. Smith was depressed
  18   Q.      All right. Is that why it's important for                  18   or was down, correct?
  19   you as a doctor to know if suicide or depression                   19   A.     Yes, sir.
  20   is a -- considered a prominent side effect of the                  20   Q.      Okay. And, in particular, let me show you
  21   drug?                                                              21   a record -- I'm sure you have it in front of you,
  22   A.      Yes.                                                       22   but just to save time, I'll hand it to you --
  23   Q.      If you had been told by the detail reps                    23   dated 5-2-03.
  24   who were -- were -- in talking to you about the                    24   A.     I have it right in front of me.
  25   drug Neurontin, that this drug was one that is                     25   Q.      Okay. Yes, sir.



                                                                    14                                                                      16

   1   associated with a loss of impulse control,                         1           Let me ask you, first of all, you have
   2   associated with a loss of cognitive awareness of                   2    your chart in front of you?
   3   things, or -- or increase in depression, would it                  3    A.     Yes, sir.
   4   have changed your prescription habits as far as                    4    Q.      Can we make sure that one way or the
   5   Mr. Smith?                                                         5    other, a copy of the chart is attached to the
   6                MR. FERGUSON: Object to form.                         6    deposition?
   7                THE WITNESS: Perhaps.                                 7              MR. LANIER: Whatever the doctor
   8   BY MR. LANIER:                                                     8    says. We don't have any problem. No HIPAA
   9   Q.      And by perhaps, would you have considered                  9    concerns or anything like that. We'll waive.
  10   trying other drugs first?                                          10             THE WITNESS: Okay.
  11   A.      I would go over his medication list and                    11             MR. FERGUSON: Okay. And can we
  12   try to pick the best possible choice to alleviate                  12   stipulate that these -- that his chart is -- are
  13   his pain. If I had known it was associated with                    13   business records of his --
  14   depression, knowing him, I would be very careful                   14             MR. LANIER: Absolutely.
  15   with it --                                                         15             MR. FERGUSON: --
  16   Q.      Yeah. If --                                                16   neurosurgical procedures?
  17   A.      -- if I decided to use it.                                 17             MR. LANIER: It saves us five minutes
  18   Q.      So if you decided to use it, would you at                  18   of questions of it.
  19   least have given him some significant warnings and                 19             MR. FERGUSON: There you go. Thank
  20   his family and made sure everybody was tuned in to                 20   you.
  21   the fact that if his depression seemed to be                       21   BY MR. FERGUSON:
  22   getting worse, that he needs to contact someone?                   22   Q.      Okay. On this page, Doctor, the -- the
  23   A.      I would.                                                   23   notation on 5-2-03 is in handwriting. Whose
  24   Q.      Okay.                                                      24   handwriting is that in?
  25                MR. LANIER: I'll pass the witness.                    25   A.     That would be Becky Hughes.




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                                                                 25                                                                    27

   1   A.    Yes.                                                      1               MR. FERGUSON: Okay.
   2   Q.    And you also say, he will be treated                      2    BY MR. FERGUSON:
   3   conservatively?                                                 3    Q.    Doctor, Mr. Lanier asked you some
   4   A.    Yes, sir.                                                 4    questions about whether you would like to have
   5   Q.    And is that with medications and -- and                   5    known if, in fact, Neurontin was a -- was
   6   physical therapy?                                               6    associated with depression or suicide. Do you
   7   A.    Yes.                                                      7    recall those questions?
   8   Q.    And -- and was that how he had been                       8    A.    Yes, sir.
   9   treated, say, over the last year or so?                         9    Q.    Okay. If, in fact, there is no scientific
  10   A.    He had been treated conservatively.                       10   evidence of any association between Neurontin and
  11   Q.    And -- and, obviously, from his viewpoint                 11   suicide, would you want the FDA and the company to
  12   anyway, he wasn't happy with the results from that              12   tell you that there was?
  13   conservative treatment?                                         13   A.    Yeah, if there's no evidence of it, that
  14   A.    That's correct.                                           14   would be just hearsay.
  15   Q.    There's a -- there's a notation that I                    15   Q.    Okay. What you want to know -- and I
  16   have in handwriting that's below the 31 March                   16   think you used the term -- you want to know
  17   that's 5-5-04?                                                  17   prominent side effects, correct?
  18   A.    Yes, sir.                                                 18   A.    Yes.
  19   Q.    And -- and, again, is that from one of                    19   Q.    Because it's possible that people can have
  20   your staff?                                                     20   any one of a number of reactions to -- while
  21   A.    Yes, sir.                                                 21   they're on a particular drug, correct?
  22   Q.    Okay. And there, it's noted that -- that                  22   A.    Yes.
  23   he -- he apparently called, said he was having a                23   Q.    And you don't want to know necessarily
  24   sticking feeling in buttocks and legs, correct?                 24   about every reaction anybody has ever had while
  25   A.    Yes, sir.                                                 25   they're taking a drug; you want to know whether



                                                                 26                                                                    28

   1   Q.    And he was taking Advil, Neurontin, Lortab                1    there's evidence that -- that -- for -- in this
   2   with no relief?                                                 2    case, that suicide and depression are
   3   A.    Yes, sir.                                                 3    scientifically associated with Neurontin?
   4   Q.    And what's Lortab again?                                  4    A.    That's correct.
   5   A.    Hydrocodone. It is a Schedule 3 narcotic.                 5    Q.    Okay.
   6   Q.    Again, a pretty heavy-duty pain --                        6               MR. FERGUSON: I'll pass the witness
   7   A.    It is.                                                    7    for now.
   8   Q.    Said he was having PT at present, but that                8               EXAMINATION
   9   hasn't helped so far, correct?                                  9    BY MR. LANIER:
  10   A.    Yes.                                                      10   Q.    So if the FDA has told Pfizer that less
  11   Q.    So you've told him in March, really can't                 11   common but more serious events may limit the
  12   do anything for you surgically, right?                          12   drug's widespread usefulness, and the third one
  13   A.    That's true.                                              13   that they listed was depression, while it may not
  14   Q.    We need to treat you with medications and                 14   be an infrequent occurrence in the epileptic
  15   physical therapy, right?                                        15   population, may become worse and require
  16   A.    Yes, sir.                                                 16   intervention or lead to suicide, as this drug has
  17   Q.    He reports on -- on May 5 to your staff                   17   resulted in some suicidal attempts, is that
  18   that he's not getting relief from that                          18   significant enough for you to want to know about
  19   conservative therapy?                                           19   it?
  20   A.    Yes, sir.                                                 20              MR. FERGUSON: Object to form.
  21   Q.    Okay.                                                     21              THE WITNESS: Can I see this, please?
  22   A.    This is Gloria Frawley; that's whose                      22              MR. LANIER: And for the jury and
  23   handwriting this is, who's a secretary of mine.                 23   court's sake, I'm looking at the FDA documents for
  24            MR. FERGUSON: I've gone ten minutes?                   24   the Neurontin new drug approval memorandum that --
  25            THE VIDEOGRAPHER: You have gone ten.                   25   dated from July of 1994.




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                                                                  29                                                                     31

   1            THE WITNESS: This document is                           1    mention the possibility of suicide --
   2   written by who to who?                                           2    A.      I'm unaware of that too.
   3   BY MR. LANIER:                                                   3    Q.      -- or depression?
   4   Q.    It's written by the FDA to the drug                        4    A.      I'm unaware of that.
   5   manufacturer.                                                    5    Q.      Again, that would have some significance
   6            MR. FERGUSON: I believe the date                        6    to you as well in the light of what Mr. Lanier
   7   was '92, though, Mr. Lanier.                                     7    asked you?
   8            MR. LANIER: '92 instead of '94?                         8              MR. LANIER: He already said it once.
   9   It's even worse than I thought. Okay.                            9    Why is he going to say it again? You didn't
  10            MR. FERGUSON: Object to the sidebar                     10   rewrite this. You're misleading the doctor. He
  11   comment. Go ahead.                                               11   gave us supplemental information about some other
  12   BY MR. LANIER:                                                   12   problems, but he didn't ever --
  13   Q.    It's signed off by Russell Katz, M.D. with                 13             MR. FERGUSON: Mark --
  14   the division of neuropharmacological drug                        14             MR. LANIER: -- detract from this.
  15   products. It's a supervisory overview of safety                  15             MR. FERGUSON: -- are we going to
  16   and efficacy data for Neurontin as a drug                        16   argue this?
  17   submitted by Parke-Davis, now Pfizer.                            17             MR. LANIER: No, but don't mislead
  18   A.    I think this is a -- would be of                           18   him.
  19   significance, yes, sir.                                          19             MR. FERGUSON: You are taking my
  20            MR. LANIER: Thank you very much.                        20   time.
  21   And for the record, Your Honor, we have Page 117                 21             MR. LANIER: Okay. I apologize.
  22   out of what we're marking as Exhibit 2 to this                   22   Deduct a minute from me. Go ahead.
  23   deposition.                                                      23   BY MR. FERGUSON:
  24           (Marked Exhibit No. 1.)                                  24   Q.      Doctor, assume with me that this is done
  25           (Marked Exhibit No. 2.)                                  25   before the FDA approved Neurontin for any reason.



                                                                  30                                                                     32

   1            MR. LANIER: And I'll pass the                           1    Okay?
   2   witness.                                                         2    A.      Yes, sir.
   3              EXAMINATION                                           3    Q.      If that is true and Neurontin was, in
   4   BY MR. FERGUSON:                                                 4    fact, approved by the FDA, do you know if it
   5   Q.    Let me talk to you about that specific                     5    contained a warning about suicide or depression?
   6   document you just saw. This is from 1992,                        6    A.      I don't know. I'd have to pull up the --
   7   correct?                                                         7    the PDR and look and see if it has information
   8   A.    I don't know.                                              8    about that in there.
   9   Q.    Take a look --                                             9    Q.      Okay. Assume with me that it doesn't have
  10           MR. LANIER: I'll stipulate it is.                        10   a warning or a precaution about depression.
  11   BY MR. FERGUSON:                                                 11   Apparently, in light of this FDA document that
  12   Q.    -- at the entire document.                                 12   Mr. Lanier just showed you, the FDA later made the
  13           MR. FERGUSON: Thank you, sir.                            13   determination that it wasn't appropriate to warn
  14   BY MR. FERGUSON:                                                 14   about suicide or depression, correct?
  15   Q.    And this document was actually written by                  15             MR. LANIER: No, objection calls for
  16   a clinical reviewer before Neurontin was approved?               16   speculation and stuff outside this witness'
  17   A.    Okay.                                                      17   expertise. You're not calling him as an FDA
  18   Q.    Do you understand that? If I tell you                      18   expert.
  19   that's correct, you don't have any reason to --                  19             THE WITNESS: I don't --
  20   A.    Okay.                                                      20             MR. FERGUSON: You asked him about
  21   Q.    -- dispute that?                                           21   the FDA document.
  22   A.    Okay.                                                      22             MR. LANIER: No, I just asked him if
  23   Q.    Okay. Are you aware that that same                         23   he's --
  24   clinical reviewer did later reviews; ten years                   24             THE WITNESS: I'll answer the
  25   later did a review of Neurontin and didn't even                  25   question.




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